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UNI'I`EI) S'I`ATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

LARRY STEVE MELTON, LARRY S.
MELTON and R & J OF TENNESSEE, INC.

Plaintiffs,

vs. No.: 1-02-1152

BANK OF LEXINGTON a branch of the BANK
OF FRIENDSHIP, TERESA HARRIS, B & H

INVESTMENTS, INC., BENNIE FESMIRE, ”/(

DIANE TUCKER, HARoLD WALDEN

BLANKENSHIP, DEAN BLANKENSHIP, _/0 6
FRANKIE sTANFILL, KEVIN CARTER, ( / k
The law firm of MILAM, CARTER & sTANFiLL, ’;’;»,Q 53§@
REGINA MILLER, TODD HENDERSON, "'<¢j S. aff Qo% 5
WrLLrAM WILHITE, DAVID RrDDICK, 0#>¢~@,%0,°

The law fm of HoLMES, RICH, SIGLER, '“’@q,,c" '*

& RIDDICK, DON WEBSTER, J]MMY
BARBOUR, WALDON GWINN, JAMES
PUTMAN, TIM PILKINGTON, JAMES E.
SMITH, M.V. WILLIAMS, JR., INVESTMENT
MANAGEMENT FINANCE, INC. and JOHN
DOE l, II, III, and IV

Defendants.

 

ORDER GRANTING DEFENDANTS’, BRADLEY KIRK AND CARTER,
STANFILL & KIRK, PLLC, MOTION TO DISMISS THE
COUNTERCLAIMS/CROSS-CLAIMS COMPLAINT OF LARRY S. MELTON

 

This cause came to be heard upon the motion of the Defendants, Bradley Kirk and
Carter, Stanfill & Kirk, PLLC, (hereinafter referred to as “Kirk Defendants”), for an

Order dismissing the CounterclaimS/CroSs-Claims Cornplaint filed by Larry S. Melton

This document entered on

_ the dockets
with Rule 58 and,'or_79 (a) FRCP on a nn com nance

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against them for his failure to abide by Rule lS(d) of the Federal Rules of Civil
Procedure. lt appears to this Court that the Kirk Det`endants’ motion is We]l taken, and,
therefore, said motion shall be granted

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that the Kirk
Defendants’ Motion to Disrniss the Counterclaims/Cross-Claims Complaint of Larry S.
Melton is Well taken, and, therefore, Said motion shall be granted. Further, this Court
finds that said Order shall be final pursuant to and in accordance with Rule 54 of the
Federal Rules of Civil Procedure, and that there is no just reason for delay of an entry

upon final judgment as to Defendants.

/

lT sTATE's DISTRICT\FUDGE

we '

/ST, loo{

 

July 18, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 626 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on

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Honorable J. Breen
US DISTRICT COURT

